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               EXHIBIT 2
     (GEICO Policy No. GXU 30031)
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            GEICO                     GOVERN ,~NT EMPLOYEES INSURANCE ,MPANY


                                                  EXCESS UMBRELLA LIABILITY POLICY                         .. "’, r~:.~i, !,

                                             ¯           ~CLARA’I’I ONS
            Potty Numbar G~,U ’ .
            Item 1. A. Named Ir~red:



                     B. Nan’~ Insumd’s Address;




            Item     Po~cy period: From          ~ 30, ~,~1                      ,~          3’t~t ~30. 1982’"



            Item 3,. F~r~ Under.rig ~nbreffa Ulb~Pof Pot~cy ~ln~, Um~, P~ Nu~h                         ~

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                     which limh:s apply in exc~=~ of und~n~fing in~J~nce.




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                                     b. De~~ Premium
                                     ¢. Min;mum P~emium
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                                                             ENDORSEMENT


                                                                                   Effective Date June


                                         NEW YORK STATE AMENDATORY ENDORSEMENT

                                                      (EXCE~S UMBRELLA POL|CYI.




.... Attached lo a n d m ad~ ~ p~R ol= Policy N~.___C~L~.0 ~ ~ 1 .............    -’..of GOVERN MEI~T EMpLOYEE$ INSURANCE COMRAN¥, ........

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     By      .



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                                                     ENDORSEMENT                                   2



                                                                         Effective Date 3u.t~e 30~




                               NEW YORK ~TATE AMENDATORY ENDORSEMENT

                              (EXCESS UMBRELLA OR EXCESS LIABILITY POLICY}



        tt is hereby understood and agreed that, notwithstanding anything in thi~ policy to the c~ntrary, with respect
        to s~.oh insurance as is a~forded by this po[iey, the reruns of this po~cy as respecls coverage for operations
        the State of New York shatl ~onforrn to the ooveraga requimmenta of the app~isable insurance laws ~f the
        State of New ~’or~ or the app[[cabis regu[ation~ ~ the New York Insuranoa Department; provided, however,
        t~t the Company’s I~t .~f tiab~y as s~ted in ~h~ policy shal~ bs ex~s of the ~im~ts of liabili~ of any
        underlying insurance of self-insurance as stut~ ~n ~e Declarations or in a~ endo~ant a~ched hereto.



  A~ched ta ~hd made a pa’r~ of Policy NO.~L~~o~ GOVERMM EN~" EMPEOYEES INSU~NCE COMPANY,’




By



ELE-16 (3~1}




     S~APRI’L                                                                                                     GEl-D00003
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                                       Policy PoH~d     "’    ’             Eff~t~v~ Da~ of Endowment
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                                 GOVERNMENT EMPLOYEES INSURANCE COMPANY
                                                         HOME OFFICE ¯ WA~=HINGTON, D.C. 2~76

                                                         EXCESS UMBRELLA LIABILITY POLICY




                                                                      INSURING AGREEMENTS




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